         Case 1:22-cr-10325-FDS Document 602 Filed 07/15/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    )   Criminal No. 22-10325-NMG
 UNITED STATES OF AMERICA                           )
                                                    )   Violation:
                v.                                  )
                                                    )   Count One: Possession with Intent to Distribute
 ANTHONY BRYSON,
                                                    )   More than 50 Grams of Methamphetamine
                                                    )   (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(viii); 18
                       Defendant                    )   U.S.C. § 2)
                                                    )
                                                    )   Drug Forfeiture Allegation:
                                                    )   (21 U.S.C. § 853)

                               SUPERSEDING INFORMATION

                                          COUNT ONE
         Possession with Intent to Distribute More than 50 Grams of Methamphetamine
                  (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(viii); 18 U.S.C. § 2)

The United States Attorney alleges:

       On or about October 25, 2022, in Saugus, in the District of Massachusetts, the defendant,

                                      ANTHONY BRYSON,

did knowingly and intentionally possess with intent to distribute more than 50 grams of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B)(viii).




                                                1
        Case 1:22-cr-10325-FDS Document 602 Filed 07/15/24 Page 2 of 3




                             DRUG FORFEITURE ALLEGATION
                                    (21 U.S.C. § 853)

       1.      Upon conviction of the offense in violation of Title 21, United States Code, Section

846, set forth in Count One, the defendant,

                                     ANTHONY BRYSON,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any

property constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of

such offense; and any property used, or intended to be used, in any manner or part, to commit, or

to facilitate the commission of, such offense. These assets include, but are not limited to,

            a. 2017 Mercedes Benz S-Class Sedan 4D S550 Maybach, seized on October 25,
               2022;
            b. 2017 BMW X5 Utility 4D, seized on October 25, 2022;
            c. Assorted designer handbags, seized on October 25, 2022; and
            d. Gold-colored bracelet with clear stones, seized on October 25, 2022.


      If any of the property described in Paragraph 1, above, as being forfeitable pursuant to Title

21, United States Code, Section 853, as a result of any act or omission of the defendant--

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty;
                                                 2
         Case 1:22-cr-10325-FDS Document 602 Filed 07/15/24 Page 3 of 3




it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the property described in

Paragraph 1 above.

       All pursuant to Title 21, United States Code, Section 853.

                                                       JOSHUA S. LEVY
                                                       Acting United States Attorney

                                               By:     /s/ Evan D. Panich
                                                       EVAN D. PANICH
                                                       Assistant United States Attorney

Dated: July 15, 2024




                                                  3
